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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

                                             Case No. 1:10-cv-00090-GRJ

SHANE SWIFT, on Behalf of
Himself and All Others Similarly
Situated,
      Plaintiff,

      vs.

BANCORPSOUTH BANK,
      Defendant.


                            FINAL JUDGMENT

      The Court, having entered the Order Granting Final Approval of

Settlement, Authorizing Service Award, and Granting Application For

Attorneys’ Fees dated July 15, 2016 (ECF No. 102), hereby ORDERS AND

ADJUDGES as follows:

      1.    The Court incorporates herein by reference the Order Granting

Final Approval of Settlement, Authorizing Service Award, and Granting

Application For Attorneys’ Fees dated July 15, 2016 (“Final Approval

Order”) in its entirety. (ECF No. 102).

      2.    Except as specifically modified by the Final Approval Order, all

capitalized terms used herein shall have the meaning set forth in the
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Settlement Agreement and Release between the Parties (“Agreement” or

“Settlement”). (ECF No. 94-1).

       3.    This Court has personal jurisdiction over each and all of the

Settlement Class Members because, among other things, they received the

best practicable notice of the Settlement, which notice was reasonably

calculated, under all the circumstances, to apprise interested parties of the

pendency of the Action and the terms of the Settlement, and to afford them

an opportunity to present their objections or to request exclusion from the

Settlement. The Court also has jurisdiction over BancorpSouth Bank

(“BancorpSouth”) and over the Plaintiff, both of whom have personally

appeared in the Action pending before this Court. The Court has subject

matter jurisdiction over the Action pursuant to 28 U.S.C. §§ 1332(d)(2) and

(6).

       4.    For purposes of effectuating the Settlement, and in accordance

with Federal Rules of Civil Procedure 23(a) and 23(b)(3), the Court certifies

the Settlement Class defined as:

       All Account Holders of a BancorpSouth Account who, during
       the Class Period applicable to the state in which the Account
       was opened, incurred one or more Overdraft Fees as a result of
       BancorpSouth’s High-to-Low Posting.1 Excluded from the Class

1
 The Settlement Class consists solely of the 190,953 identifiable current and former
BancorpSouth Account Holders identified based on the analysis set forth in the Expert
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      are all current BancorpSouth officers and directors, and the
      judge presiding over this Action.
Agreement ¶ 64. 2

      5.     The Action, defined in the Settlement as Swift v. BancorpSouth

Bank, N.D. Fla. Case No. 1:10-cv-90-GRJ, is hereby dismissed with

prejudice, each side to bear its own fees and costs, except as otherwise

provided in the Final Approval Order.

      6.     Without modifying the scope of Section XIV of the Settlement,

as of the Effective Date, Plaintiff and all Settlement Class Members (who

did not timely opt-out of the Settlement), each on behalf of himself or

herself and on behalf of his or her respective heirs, assigns, beneficiaries,

and successors, shall automatically be deemed to have fully and

irrevocably released and forever discharged BancorpSouth and each of its


Report of Arthur Olsen dated November 8, 2012, as supplemented by the Supplemental
Expert Report of Arthur Olsen dated August 28, 2014, excluding the 238 class members
who previously exercised their right to opt out of the certified class.
2 “Class Period” means: (a) for Settlement Class Members who opened accounts in
Louisiana, the period from May 18, 2003 through August 13, 2010; (b) for Settlement
Class Members who opened accounts in Alabama or Tennessee, the period from May
18, 2004 through August 13, 2010; (c) for Settlement Class Members who opened
accounts in Arkansas, the period from May 18, 2005 through August 13, 2010; (d) for
Settlement Class Members who opened accounts in Florida or Texas, the period from
May 18, 2006 through August 13, 2010; and (e) for Settlement Class Members who
opened accounts in Mississippi or Missouri, the period from May 18, 2007 through August
13, 2010. Agreement ¶ 32.



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present and former parents, subsidiaries, divisions, affiliates, predecessors,

successors and assigns, and the present and former directors, officers,

employees, agents, insurers, shareholders, attorneys, advisors,

consultants, representatives, partners, joint venturers, independent

contractors, wholesalers, resellers, distributors, retailers, predecessors,

successors, and assigns of each of them, of and from any and all liabilities,

rights, claims, actions, causes of action, demands, damages, costs,

attorneys’ fees, losses, and remedies, whether known or unknown, existing

or potential, suspected or unsuspected, liquidated or unliquidated, legal,

statutory, or equitable, that result from, arise out of, are based upon, or

relate to the conduct, omissions, duties or matters at any time from the

beginning of the Class Period through the date an order preliminary

approving the Settlement Agreement is entered by the Court, that were or

could possibly have been claimed, raised, or alleged in this Action to the

extent they relate in any way to Overdraft Fees, or debit transaction

sequencing or posting order, including, without limitation, any claims,

actions, causes of action, demands, damages, losses, or remedies relating

to, based upon, resulting from, or arising out of (a) the notation or

assessment of one or multiple Overdraft Fees on Settlement Class

Members’ Accounts, (b) the amount of one or more Overdraft Fees
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assessed on Settlement Class Members’ Accounts, or (c) debit transaction

sequencing or posting order on Settlement Class Members’ Accounts. The

foregoing release includes any and all of the following to the extent they

involve, result in, or seek recovery or relief for notation or assessment of

Overdraft Fees or debit transaction sequencing or posting order: (1) the

authorization, approval or handling of any Debit Card Transaction, (2) any

failure to notify or to obtain advance approval when a Debit Card

Transaction would or might cause Settlement Class Members’ Accounts to

become overdrawn or further overdrawn or an Overdraft Fee to be noted or

assessed, (3) any failure to allow Settlement Class Members to opt-out of

overdrafts, or to publicize or disclose the ability of the holder of any

BancorpSouth Account to opt-out of overdrafts, (4) any failure to

adequately or clearly disclose, in one or more agreements, posting order,

debit re-sequencing, overdrafts, Overdraft Fees, or the manner in which

Debit Card Transactions are or would be approved, processed, noted, or

posted to Settlement Class Members’ Accounts; (5) any conduct or

statements encouraging the use of BancorpSouth Debit Cards, (6) the

assessment of any Overdraft Fee, and (7) any advertisements relating to

any of the foregoing.


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      7.    Those persons identified on the List of Exclusions attached

hereto as Exhibit A are hereby excluded from the Settlement, shall not

receive any distribution from the Settlement, and are not bound by this

Judgment.

      8.    The Parties to the Settlement submit to, and this Court

expressly reserves and retains, exclusive jurisdiction over the Action and

the Parties, including BancorpSouth, Plaintiff, and all Settlement Class

Members, to administer, implement, supervise, construe, enforce and

perform the Settlement in accordance with its terms, and to enforce the

Final Approval Order. Without limiting the foregoing, and by way of

example only, the Court retains jurisdiction to adjudicate any suit, action,

proceeding, or dispute arising out of the Settlement. The Court shall also

retain jurisdiction over all questions and disputes related to the Notice

Program, Settlement Administrator, the Notice Administrator and the Tax

Administrator.

      9.    Nothing in the Settlement, the Final Approval Order, or this

Judgment shall be deemed to be an admission, or to constitute an

adjudication by the Court, of the truth or falsity of any claims or defenses

heretofore made, or an acknowledgment or admission by BancorpSouth or


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any party of any fault, liability or wrongdoing of any kind whatsoever or of

any violation of statute, regulation or law.

        10.   Plaintiff, all Settlement Class Members, and all Releasing

Parties are hereby barred and enjoined from asserting any of the Released

Claims and from pursuing any Released Claims against BancorpSouth (as

provided in paragraphs 30 and 105 of the Agreement) at any time,

including, but without limitation, during any appeals from the Final Approval

Order and this Judgment. The Court shall retain jurisdiction over the

enforcement of these injunctions.

        DONE AND ORDERED at Gainesville, Florida, this 15th day of July,

2016.




                                     /Gary R. Jones
                                     GARY R. JONES
                                     United States Magistrate Judge




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